                  Case 3:21-cv-05074-BHS Document 9 Filed 11/02/21 Page 1 of 2




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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7

 8   JUSTIN WIEDENMANN,

 9                               Plaintiff,                 Case No. C21-5074-MLP

10           v.                                             ORDER

11   MOUNTAIN RUN SOLUTIONS LLC,

12                               Defendant.

13

14           On January 28, 2021, Justin Wiedenmann (“Plaintiff”) filed his Complaint in this matter.

15   (Dkt. # 1.) Mountain Run Solutions LLC (“Defendant”) has yet to appear. On August 30, 2021,

16   Plaintiff filed a Motion for Clerk’s Entry of Default against Defendant. (Dkt. # 6.) The Clerk’s

17   Office entered default on September 2, 2021. (Dkt. # 8.)

18           Entry of default does not end an action—a plaintiff must still take affirmative steps to

19   obtain a default judgment. See Fed. R. Civ. P. 55(b)(2). It is a plaintiff’s duty to prosecute the

20   action and move the case forward. See Fed. R. Civ. P. 41(b). Since entry of default on September

21   2, 2021, Plaintiff has failed to act.

22           Accordingly, Plaintiff is ORDERED to act on or before November 16, 2021, or the Court

23   will recommend dismissal of this action pursuant to Fed. R. Civ. P. 41(b) for failure to prosecute.




     ORDER - 1
                 Case 3:21-cv-05074-BHS Document 9 Filed 11/02/21 Page 2 of 2




 1         Dated this 2nd day of November, 2021.

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                                                   A
 3                                                 MICHELLE L. PETERSON
                                                   United States Magistrate Judge
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